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                                UNITED STATES DISTRICT COURT                 ~~ERK,U.S.DISRICTCn~~RT
                               CENTRAL DISTRICT OF CALIFORNIA
                                                                                          p 4 2023


                            JURY NOTE •NUMBER
Case No: CV 17-2036 MRW

Title:    Marina Borawick v. City of Los Angeles et al.

         The Jury has reached a unanimous verdict.
         Other:




Dated this               day of                           2021.

Time                am/pm
                                                                  rvrer~ersvn yr one vu
                                          Court's Response:
